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                          THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPHSIRE



IN THE MATTER OF THE SEARCH OF                                  )
                                                                )
(1) THE PROPERY LOCATED AT 725 UNION                            )
STREET, APARTMENT 2, MANCHESTER,                                ) DOCKET NO. 21-mj-294-AJ-01
NEW HAMPSHIRE; AND                                              )
                                                                )
(2) 2016 GREY LANDROVER, NH REG.                                )
4464612, REGISTERED TO KERMIT CEASAR                            )



       AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANTs

        I, Task Force Officer Michael McGee, being first duly sworn, state under oath as follows:

                                             Introduction

        1.       The following affidavit is furnished to support a search warrant for the following

locations: The property located at 725 Union Street, Apartment 2, Manchester, New Hampshire

(The Union Street Apartment) and a 2016 Grey Land Rover, NH Reg. 4464612, registered to

Kermit Ceasar (The Land Rover). A detailed property description for the apartment is contained

in Attachment A and a description of the vehicle is contained in Attachment B.

        2.       Based on the facts and circumstances contained in this affidavit, I submit that there

is probable cause to believe that KERMIT CEASAR and others known and unknown are engaged

in drug trafficking activities that constitute violations of. 21 U.S.C. § 841(a)(1) (distribution of

controlled substances). I further submit that there is probable to search the residence located at

the Union Street Apartment and the Land Rover for evidence of these drug distribution offenses.

        3.       I am an investigative or law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law to
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conduct investigations of and to make arrests for offenses enumerated in Section 2516 of Title

18, United States Code. I also am a “federal law enforcement officer” within the meaning of

Rule 41 of the Federal Rules of Criminal Procedure.

       4.       I am employed as a police officer with the Manchester, New Hampshire Police

Department and have been so since July 2014. I am currently assigned to the Federal Bureau of

Investigation’s (FBI) New Hampshire Safe Streets Gang Task Force, which works to dismantle

and disrupt criminal organizations and streets gangs in and around the state of New Hampshire. I

have been assigned to this task force since March of 2021. Prior to joining the task force, I was

assigned to Manchester Police Department’s Anti-Crime Unit where I focused on the deterrence

and apprehension of violent offenders with a special emphasis on criminal street gangs. I was

assigned to the Anti-Crime Unit between November 2021 and March 2021. Prior to joining the

Anti-Crime Unit, I was assigned to the Gang Prevention Unit where I strictly focused on criminal

street gangs within Manchester. My duties within the Gang Prevention Unit consisted of

apprehension, deterrence, and intervention of individuals associated with criminal street gangs. I

was assigned to the Gang Prevention Unit in June 2017.

       5.       During my employment as a police officer, I have successfully completed the

Manchester Police In-House Academy as well as the New Hampshire Police Standards and

Training Council Academy located in Concord, New Hampshire. I have received specialized

investigatory training in numerous areas to include, gang investigations, drug investigations,

criminal interdiction, and I am a certified Professional Gang Investigator by the East Coast Gang

Investigators Association. I have responded to, investigated, or participated in the investigation

of many crimes to include homicides, aggravated assaults, robberies, burglaries, thefts, and drug

related crimes. I have a Bachelor of Arts in Criminal Justice from Saint Anselm College in
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Manchester, New Hampshire. In my current assignment I have tracked, interviewed,

investigated, and otherwise spoken with several persons involved with gangs, violent crimes, and

drug trafficking.

        6.       Based on my training and experience, I am familiar with the manner and means

commonly employed by drug traffickers and drug trafficking organizations to conduct their

illegal activities, including purchasing, manufacturing, storing, and distributing controlled

substances, the laundering of illegal proceeds, and the efforts of persons involved in such

activities to avoid detection by law enforcement. I am also familiar with the terminology and

slang commonly employed by drug traffickers. I have observed and examined cocaine, cocaine

base (“crack”), heroin, and fentanyl as well as other controlled substances. I am aware of the

street prices for these substances, the methods of packaging, and the jargon used in the drug

trade. I am also familiar with drug traffickers’ methods of operation, including the distribution,

storage, and transportation of drugs and the collection of money that constitutes the proceeds of

drug trafficking activities. 1 I am familiar with the types of packaging used to distribute

controlled substances as well as equipment used such as scales, bags, pill presses and cutting

agents. I am also familiar with drug-related paraphernalia and the equipment used to ingest

controlled substances, such as syringes and smoking pipes. I have talked to drug dealers and

listened to their conversations, so I am familiar with the coded language often used in these

conversations. Because of my training and experience, I am familiar with new trends of

concealing illegal drug trafficking. I also stay current on the latest technology used to investigate

drug crimes. In sum, through my training, education, and experience, I have become familiar



1
 Observations made and conclusions drawn throughout this declaration that are based on my training and
experience also include the training and experience of other law enforcement agents and officers with whom I have
discussed these issues.
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generally with the manner in which drug traffickers conduct their illegal activities, including

purchasing, manufacturing, storing, and distributing drugs, the laundering of illegal proceeds,

and the efforts of persons involved in such activities to avoid detection by law enforcement.

       7.       I am familiar with the facts and circumstances of this investigation from my own

  personal participation and from oral and written reports given to me by other agents, task

  force officers, and members of law enforcement. Since this affidavit is being submitted for the

  limited purpose of establishing that probable cause exists to support the issuance of a search

  warrant for the Union Street Residence and the Land Rover, I have not included details about

  every aspect of the investigation. While this affidavit contains all the material information I

  am aware of that is pertinent to the requested search warrant, it does not set forth all of my

  knowledge about this matter.

                                             Probable Cause

       7.       On November 1, 2021, a grand jury sitting in the District of New Hampshire

indicted Kermit Ceasar on six counts of drug distribution on the following dates: April 22, 2021,

May 19, 2021, June 8, 2021, June 23, 2021, July 20, 2021, and August 23, 2021. The

transactions were all conducted with the same confidential informant. Each transaction was

audio and video recorded and observed by members of the Manchester Police Department. On

April 22, 2021 and May 19, 2021, Ceasar was observed coming and going from the charged drug

transaction in the Land Rover. Throughout these transactions, Ceasar used multiple cellular

telephones to communicate with the confidential informant about the drug transactions.

       8.       On November 18, 2021, the FBI and Manchester Police executed the arrest

warrant issued by this Court following Ceasar's November 1 indictment. Based on prior
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surveillance and intelligent law enforcement believed that Ceasar resided at the Union Street

Apartment.

       9.       At approximately, 6:34 am, law enforcement observed Ceasar exit the door of the

Union Street Apartment building. Ceasar walked north on Union Street and then east on Brook

Street toward where he parks his Land Rover on Walnut Street. Ceasar was arrested by

Manchester Police officers while walking on Brook Street. Surveillance of Ceasar was

continuous from the time that he exited the Union Street Apartment building.

       10.      On Ceasar's arrest, Manchester Police officers searched Ceasar incident to his

arrest. In Ceasar's underwear, the police located two bags containing an off white rock-like

substance that appeared to be crack cocaine. The substance was field tested; it tested positive for

crack cocaine and weighed approximately 8.5 grams. In addition, law enforcement seized from

Ceasar to black I-phones one with an Otterbox case and the other with a U-Maker case.

       11.      Following the arrest, Manchester Sergeant Eric Joyal conducted a knock and talk

interview at 725 Union Street, Apartment 2. Sergeant Joyal spoke to Joseph Alston. Joyal

recognized Alston as the person who acted as a runner for Ceasar on a controlled sale of crack

cocaine with the confidential informant that occurred on September 24, 2021. 2 Alston said that

he was staying at this apartment with his friend, "Kermit." The landlord of the building, John

Ploss, also told the Manchester Police that Ceasar lived in Union Street, Apartment 2.

       12.      After the knock and talk, Manchester Police brought a certified drug-sniffing

canine to the Land Rover. The dog proceeded around the exterior of the car and alerted on the

rear passenger door toward the quarter panel




2
        This deal was not charged in the indictment because lab analysis of the seized drugs was
not yet complete when the case was indicted.
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                          Training and Experience Concerning Items to be Seize

       13.     Based upon my training and experience, as well as the collective knowledge and

experience of other agents and police officers who participated in this investigation, I am aware

that drug traffickers often store controlled substances and other tools of the drug trade in their

homes and vehicles. I am aware that it is generally a common practice for drug traffickers to

store their drug inventory and drug-related paraphernalia including, but not limited to, scales,

plastic baggies, wrapping material, paper or plastic bundles, and zip lock bags, in residences or

other vehicles that they access with frequency.

       14.     It is a common practice for drug traffickers to maintain in hard copy or on

electronic devices, records relating to their drug trafficking activities. Because drug traffickers in

many instances will “front” (that is, sell on consignment) controlled substances to their clients, or

alternatively, will be “fronted” controlled substances from their suppliers, such record-keeping is

necessary to keep track of amounts paid and owed, and such records will also be maintained

close at hand to readily ascertain current balances.

       15.     Drug traffickers will commonly maintain records and documents which provide a

paper trail for money laundering of illicit drug trafficking proceeds, often long after the actual

transactions. There are many reasons why an individual will generally maintain records for long

periods of time. One reason is that the records will often seem innocuous because of their nature

(e.g. financial, credit card and banking documents, travel documents, receipts, client lists,

documents reflecting purchases of assets, personal calendars, telephone and address directories,

check books, videotapes and photographs, utility records, ownership records, letters and notes,

tax returns and financial records, escrow files, telephone bills, keys to safe deposit boxes,

packaging materials, computer hardware and software). Second, the individual may no longer
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realize he/she still possesses the records or may believe law enforcement could not obtain a

search warrant to seize the evidence. Lastly, it is common for individuals to set aside or store

such records, and because they generally have no immediate need for the records, they are often

forgotten. To law enforcement, however, all these items may have significance and relevance

when considered with other evidence.

       16.     Additionally, drug traffickers often maintain telephone and address listings of

clients and suppliers and keep them immediately available to efficiently conduct their drug

trafficking business. Drug traffickers may also keep lists of customers, the cars they drive, and

the phones they use to keep track of them. They may also collect court papers and other

documents about customers who they believe may be cooperating with law enforcement

authorities to protect themselves or attempt to intimidate potential cooperators.

       17.     It is also a common practice for traffickers to conceal at their residences and in

vehicles large sums of money, either the proceeds from drug sales or monies to be used to

purchase controlled substances. Individuals who distribute controlled substances often use cash

or readily transported assets which are used as cash equivalents like pre-paid debit cards, gift

cards, bearer bonds, gold, diamonds, or jewels because of the illegal nature of the transactions

and to lessen the possibility of a financial paper trail. Additionally, drug traffickers typically use

wire transfers, cashier’s checks, and money orders to pay for controlled substances. They may

also use banks and wire companies, both foreign or domestic, to launder and transfer funds to co-

conspirators. They may further use shipping companies and keep records of shipments of goods

bought with drug proceeds. Records relating to income and expenditures of money and wealth in

connection with drug trafficking would also typically be maintained in residences and vehicles.
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       18.     Based on my training and experience, I know that individuals involved in the

distribution of controlled substances attempt to hide the true identity of their residence and

employ methods of surveillance at such residence in order to evade law enforcement. Typically,

these individuals will maintain at their residence documents relating to the identity of the

person(s) in residence, occupancy, control, or ownership of the subject premises. Identification

documents may help to clarify the identity of people in the residences who have access to the

items found in the residences. Such identification evidence is typical of the articles people

commonly maintain in their residences, such as canceled mail, deeds, leases, rental agreements,

photographs, personal telephone books, diaries, utility and telephone bills, statements,

identification documents, and keys.

       19.     Based on my training and experience, I know that drug traffickers typically use

cellular telephones to facilitate drug transactions, including to order and take orders for

controlled substances or to set up shipments. I am aware that items such as cell phones and

United States currency are often located in a residence or in a vehicle.

       20.     Individuals involved in the illicit distribution of controlled substances often take

or cause to be taken photographs of themselves, their associates, their property and their product

and such items are usually maintained within their residence and sometimes on cell phones or

computers.

       21.     It is common for individuals who are involved in the trafficking and distribution

of controlled substances to store the records of those activities and proceeds of those activities in

secure areas over which they have control such as safes, bags, locked drawers, briefcases, and

duffel bags, among other locked containers.
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                       Training and Experience on Digital Devices

       22.     In addition to documentary evidence of financial and drug trafficking crimes, drug

traffickers commonly possess and use multiple cellular telephones simultaneously to conduct

their drug trafficking activities and many of these cellular telephones are kept at the dealers’ own

residence or in vehicles. It is common for these cellular telephones to be retained, although not

necessarily used, for months or longer by drug traffickers in their vehicles, residences, and

businesses. Drug traffickers often do not discard their cellular telephones immediately after they

stop actively using them. Therefore, while it is common for drug traffickers to stop using

cellular telephones frequently, it is far less common for drug traffickers to discard their cellular

telephones after they switch to new cellular telephones. As a result, I am aware that collections

of cell phones have been found during drug trafficking search warrants of residences or vehicles

that have included cell phones that were no longer being used by a particular drug trafficker but

had nevertheless been retained and contained evidence of the crimes under investigation.

       23.     Such evidence can include internet searches for drug-related paraphernalia,

addresses, or telephone numbers, as well as incriminating communications via emails, text

messages or instant messages. Actions such as internet searching or emailing (in addition to

calling) and text messaging can now be performed from many cell phones.

       24.     In addition, those involved in drug trafficking crimes commonly communicate

using multiple cellular telephones. Contemporaneous possession of multiple cellular telephones

is, therefore, evidence of drug trafficking. Moreover, the particular numbers of and the particular

numbers dialed by particular cellular telephones can be evidence of drug trafficking, particularly

in a case such as this, where investigators have analyzed telephone toll records involving the
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interception of communications between drug traffickers. Such numbers can confirm identities of

particular speakers and the occurrence of certain events.

       25.      Based on my training, experience, and information provided by other law

enforcement officers, I know that many smartphones can now function essentially as small

computers. Smartphones have capabilities that include serving as a wireless telephone, digital

camera, portable media player, GPS navigation device, sending and receiving text messages and

e-mails, and storing a vast range and amount of electronic data. Examining data stored on

devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the device.

       26.      As with most electronic/digital technology items, communications made from an

electronic device, such a cell phone, are often saved or stored on the device. Based on my

knowledge, training, and experience, as well as information related to me by agents and others

involved in the forensic examination of digital devices, I know that data in digital form can be

stored on a variety of digital devices and that during the search of a premises it is not always

possible to search digital devices for digital data for a number of reasons, including the

following:

             a. Searching digital devices can be a highly technical process that requires specific

                expertise and specialized equipment. There are so many types of digital devices

                and software programs in use today that it is impossible to bring to the search site

                all the necessary technical manuals and specialized equipment necessary to

                conduct a thorough search. In addition, it may be necessary to consult with

                specially trained personnel who have specific expertise in the types of digital

                devices, operating systems, or software applications that are being searched.
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 b. Digital data is particularly vulnerable to inadvertent or intentional modification or

    destruction. Searching digital devices can require the use of precise, scientific

    procedures that are designed to maintain the integrity of digital data and to

    recover “hidden,” erased, compressed, encrypted, or password-protected data. As

    a result, a controlled environment, such as a law-enforcement laboratory or

    similar facility, is essential to conducting a complete and accurate analysis of data

    stored on digital devices.

 c. The volume of data stored on many digital devices will typically be so large that it

    will be impractical to search for data during the physical search of the premises.

    A single megabyte of storage space is the equivalent of 500 double-spaced pages

    of text. A single gigabyte of storage space, or 1,000 megabytes, is the equivalent

    of 500,000 double-spaced pages of text. Storage devices capable of storing 500

    or more gigabytes are now commonplace. Consequently, just one device might

    contain the equivalent of 250 million pages of data, which, if printed out, would

    completely fill three 35’ x 35’ x 10’ rooms to the ceiling. Further, a 500-gigabyte

    drive could contain as many as approximately 450 full run movies or 450,000

    songs.

 d. Electronic files or remnants of such files can be recovered months or even years

    after they have been downloaded onto a hard drive, deleted, or viewed via the

    Internet. Electronic files saved to a hard drive can be stored for years with little

    or no cost. Even when such files have been deleted, they can be recovered

    months or years later using readily available forensics tools. Normally, when a

    person deletes a file on a computer, the data contained in the file does not actually
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    disappear; rather, that data remains on the hard drive until it is overwritten by new

    data. Therefore, deleted files, or remnants of deleted files, may reside in free

    space or slack space, i.e., space on a hard drive that is not allocated to an active

    file or that is unused after a file has been allocated to a set block of storage space,

    for long periods of time before they are overwritten. In addition, a computer’s

    operating system may also keep a record of deleted data in a swap or recovery

    file. Similarly, files that have been viewed on the Internet are often automatically

    downloaded into a temporary directory or cache. The browser typically maintains

    a fixed amount of hard drive space devoted to these files, and the files are only

    overwritten as they are replaced with more recently downloaded or viewed

    content. Thus, the ability to retrieve residue of an electronic file from a hard drive

    depends less on when the file was downloaded or viewed than on a particular

    user’s operating system, storage capacity, and computer habits. Recovery of

    residue of electronic files from a hard drive requires specialized tools and a

    controlled laboratory environment. Recovery also can require substantial time.

 e. Although some of the records called for by this warrant might be found in the

    form of user-generated documents (such as word processing, picture, and movie

    files), digital devices can contain other forms of electronic evidence as well. In

    particular, records of how a digital device has been used, what it has been used

    for, who has used it, and who has been responsible for creating or maintaining

    records, documents, programs, applications and materials contained on the digital

    devices are, as described further in the attachments, called for by this warrant.

    Those records will not always be found in digital data that is neatly segregable
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    from the hard drive image. Digital data on the hard drive not currently associated

    with any file can provide evidence of a file that was once on the hard drive but

    has since been deleted or edited, or of a deleted portion of a file (such as a

    paragraph that has been deleted from a word processing file). Virtual memory

    paging systems can leave digital data on the hard drive that show what tasks and

    processes on the computer were recently used. Web browsers, e-mail programs,

    and chat programs often store configuration data on the hard drive that can reveal

    information such as online nicknames and passwords. Operating systems can

    record additional data, such as the attachment of peripherals, the attachment of

    USB flash storage devices, and the times the computer was in use. Computer file

    systems can record data about when the dates files were created and the sequence

    in which they were created. This data can be evidence of a crime, indicate the

    identity of the user of the digital device, or point toward the existence of evidence

    in other locations. Recovery of this data requires specialized tools and a

    controlled laboratory environment, and also can require substantial time.

 f. Further, evidence of how a digital device has been used, what it has been used for,

    and who has used it, may be the absence of particular data on a digital device.

    For example, to rebut a claim that the owner of a digital device was not

    responsible for a particular use because the device was being controlled remotely

    by malicious software, it may be necessary to show that malicious software that

    allows someone else to control the digital device remotely is not present on the

    digital device. Evidence of the absence of particular data on a digital device is not

    segregable from the digital device. Analysis of the digital device as a whole to
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                 demonstrate the absence of particular data requires specialized tools and a

                 controlled laboratory environment and can require substantial time.

                                               Conclusion

          27.    For all the reasons described above, I submit that there is probable cause to

believe that evidence and fruits of the violations of Title 21, United States Code, Section

841(a)(1) will be found by searching the locations described in the Attachment A and B. Based

upon my training and experience, I believe that the items set forth in the Attachments C are

commonly possessed by drug traffickers in their homes and vehicles, and on their cell phones

and that those items are evidence of violations of the offenses being committed by CEASAR and

others.

          I declare that the foregoing is true and correct.


                                         /s/ Michael McGee
                                         Michael McGee, Task Force Officer
                                         FBI, Task Force Officer


The affiant appeared before me by telephonic conference on this 18th day of November, 2021
pursuant to Fed. R. Crim. P. 4.1 and affirmed under oath the content of this affidavit and
application

____________________________
HON. ANDREA K. JOHNSTONE
UNITED STATES MAGISTRATE JUDGE
DISTRICT OF NEW HAMPSHIRE
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                                   ATTACHMENT B
                           2016 Land Rover, N.H. Reg. 4464612

      This search warrant authorizes the search of the vehicle described as a Grey 2016 Land

Rover, N.H. Reg. 4464612, registered to Kermit Ceasar with VIN SALGS2VF5GA283803.
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                                    ATTACHMENT C
                                    Items to be Seized

1. Controlled substances;

2. Drug distribution paraphernalia including, but not limited to: scales; plastic baggies;
   wrapping material; paper or plastic bundles; blenders; zip lock bags; presses; cutting
   agents; and pill presses;

3. Electronic equipment used for counter-surveillance such as scanners, police radios or
   monitors, surveillance cameras and monitors and devices used to store surveillance
   footage, anti-bugging devices and devices used to detect the presence of wiretaps,
   recording devices or transmitters, and/or receipts or literature describing same;

4. Documents associated with drug trafficking including pay-owe sheets, buyer lists, seller
   lists, ledgers, records of sales, records of expenditures made to purchase drugs or
   chemicals and apparatus used to manufacture drugs, buyer lists, telephone lists, address
   books (written or electronic/digital media).

5. Large amounts of currency (exceeding $1,000) or readily transported assets which are
   used as cash equivalents (cashiers’ checks, bearer bonds, gold, diamonds, precious
   jewels, etc.); prepaid debit cards and gift cards;

6. Materials showing the receipt of large amounts of cash including bank statements and
   related records, passbooks, letters of credit, money drafts, cashier’s checks, bank checks,
   checkbooks, tax returns, loan statements, tax return work papers, escrow files, Forms
   1099, wire transfer records, and other items evidencing the obtaining, secreting, transfer,
   concealment, and expenditure of money related to drug trafficking activities;

 7. Bank and other financial institution records, showing acquisition, conversion, movement,
    secreting, transfer and disbursement of United States and foreign currency from 2020 to
    the present;

 8. Materials evidencing expenditure of drug trafficking proceeds including, purchase of
    large assets, including digital image storage devices, records of real estate or securities
    transactions, escrow files, wire transfer records, automobiles, motorcycles, trucks, or
    other vehicles purchased with cash or cash equivalents; credit and debit card records,
    including records of purchases, withdrawals, deposits and cash advances made with
    credit and debit cards, and including statements and receipts;

9. Photographs, negatives, video tapes, films, depicting the subjects of the investigation and
   their criminal associates, (showing association with the associates, depicting their assets
   or depicting controlled dangerous substances);
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10.Personal calendars, address and/or telephone books, rolodex indices and papers reflecting
   names, addresses, telephone numbers, pager numbers, fax numbers and/or telex numbers,
   correspondences of the subjects of the investigation and their criminal associates, sources
   of supply, customers, financial institutions, and other individuals or businesses with
   whom a financial relationship exists;

11. Indicia of possession of the place to be searched: including articles of personal property,
    such as personal identification, immigration documents, personal correspondence,
    delivery pouches, diaries, checkbooks, notes, photographs, keys, utility bills, receipts,
    personal telephone and address books, and video tapes, tending to establish the identity of
    the person or persons in control of the areas to be searched;

12. Books, records, ledgers, journals, statements, receipts, invoices, billings, financial
    statements, balance sheets, notes and work papers concerning CEASAR'

13. Keys to show ownership for storage facilities, businesses, locked containers, cabinets,
    safes, safe deposit boxes, conveyances and/or other residences.

14. Cellular telephones. This search warrant authorizes the search of those telephones
(including the two I-phones seized from Ceasar incident to his arrest) for:

       a. Information associated with drug trafficking, including pay-owe sheets, buyer
          lists, telephone lists, address books, seller lists, ledgers, records of sales, records
          of expenditures made to purchase controlled substances, and records of
          expenditures to purchase products which are used in the distribution of controlled
          substances;

       b. lists of customers and related identifying information;

       c. types, amounts, and prices of controlled substances trafficked as well as dates,
          places, and amounts of specific transactions;

       d. any information related to sources of controlled substances (including names,
          addresses, phone numbers, or any other identifying information);

       e. any information involving the travel to obtain controlled substances or the
          transportation of controlled substances;

       f. information reflecting contact or communication with coconspirators, the
          distribution of controlled substances to coconspirators, and the disposition of
          proceeds of controlled substances (including within messaging applications like
          WhatsApp, Snapchat, and Instagram stored on the phone);

       g. all bank records, checks, credit card bills, account information, and other financial
          records;
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           h. Evidence of user attribution showing who used or owned the devices at the time
              the things described in this warrant were created, edited, or deleted, such as logs,
              phonebooks, saved usernames and passwords, documents, and browsing history.

        As used above, the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that
can store data) and any photographic form.
